Case 1:04-cr-10013-.]DT Document 79 Filed 04/20/05 Page 1 of 2 Page|D 88

”<2>
m THE UNITED sTATEs DISTRICT cOURT 639 4;>/,
Fon THE wes-ran msch 01= TENNESSEE 499 §/
EASTERN oIvIsloN };`¢G, 90 \
/ ,§;.“_<`,§)\ ,o \
UNH'BD STATES oF AMBRICA 961 / 1F `.9, 51
“ //*f<z‘ ”/ <’¢
vs. cAUsE No'.ct.@&@
/'i¢ ,` C,’/\
JEREMY NEAL wHITLEY DEFEND `

DRDER OF CONTLH l_IANCE

This cause comes before the Court on thc defendant‘s motion seeking a continuance of
the sentencing date in thc above-styled cause which is currently set for April 21 , 2005. Counsel
for the Government does not oppose this motion.

Thc Court linds that the defendant’s motion is well taken and should be grantod. Thc
Court further linda that the ends of justice will be served by the granting of such continuance

IT IS THEREFOR.E ORDERED that thc Dcfendant’s sentencing date is hereby continued
mm /VIA M lo 3005 d 3 /6¢; m

ms the _ZQ%' d” y cprrn, 2005.

D..Q¢»M

STATBS DISTRICT JUDGE

Thlsdcoummonmldonhdodm \'l
m.,,,,m,@,.,,m...nn§n§

170 'd OS=OT SOUZ 03 JdU SZZ£U'ZZZQQI:XP;| E|SEIHUJ`SESBHH;I‘E|SHHU:I (\.C\

DISTRIC COURT - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 1:04-CR-100]3 Was distributed by faX, mail, or direct printing on
April 25, 2005 to the parties listed.

 

 

Stephen Farese

FARESE FARESE FARESE, PA
122 Church Street

P.O. Box 98

Ashland7 MS 38603

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

